Case 2:18-cv-00510-ES-MAH Document 17-1 Filed 03/01/18 Page 1 of 5 PageID: 184



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Attorneys for Defendant
ARCH SPECIALTY INSURANCE COMPANY

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
---------------------------------------------------------------------x
PHARMACIA CORPORATION N/K/A PFIZER, INC.,
                                                                         No.: 2:18-cv-00510-ES-MAH
                                      Plaintiff,

                               -against-

ARCH SPECIALTY INSURANCE COMPANY, TWIN
CITY FIRE INSURANCE COMPANY, and LIBERTY
MUTUAL INSURANCE COMPANY,

                                   DefendantS.
---------------------------------------------------------------------x

            DECLARATION OF ANDREW HAMELSKY IN SUPPORT OF
       ARCH SPECIALTY INSURANCE COMPANY’S MOTION, PURSUANT TO
          FED. R. CIV. P. 12(b)(6), TO DISMISS PLAINTIFF’S COMPLAINT


I, Andrew Hamelsky, hereby declare under penalty of perjury as follows:

        1.       I am an attorney duly admitted to practice law before the courts of the State of

New Jersey, and the Bar of the United States District Court for the District of New Jersey.

        2.       I am a partner with the law firm of White and Williams LLP, attorneys for

defendant Arch Specialty Insurance Company (“Arch”) in the instant action.
Case 2:18-cv-00510-ES-MAH Document 17-1 Filed 03/01/18 Page 2 of 5 PageID: 185



       3.      I submit the instant declaration in support of Arch’s motion, pursuant to Rule

12(b)(6), to dismiss Plaintiff’s, Pfizer, Inc.’s (“Pfizer”), complaint as against Arch for the reasons

set forth in the accompanying memorandum of law.

       4.      This is an insurance coverage dispute arising from Pfizer’s, as alleged successor

in interest to Pharmacia Corporation (“Pharmacia”),1 demand for coverage for defense and

indemnity in connection with Alaska Electrical Pension Fund, et al. v. Pharmacia Corp., et al.,

03-cv-01519 (D.N.J. Oct. 27, 2003) (the “Garber Action”).2

       5.      The Garber Action, filed on April 7, 2003, arises from alleged misrepresentations

and omissions by Pfizer and Pharmacia relating to the safety and efficacy of the drug Celebrex,

which was developed by Pharmacia, and co-marketed by Pfizer and Pharmacia. A true and

correct copy of the Consolidated Class Action Complaint in the Garber Action is annexed hereto

as Exhibit 1 (the “Garber Complaint”).

       6.      The Garber plaintiffs alleged that: (a) Pharmacia launched Celebrex in February

1999 for use in reducing inflammation in patients suffering from arthritis; (b) long-term use of

common and inexpensive treatments for arthritis are associated with a number of gastrointestinal

(“GI”) side effects from upset stomach to life-threatening bleeding ulcers; and (c) while Celebrex

was roughly the equivalent of these less-expensive treatments, Pharmacia claimed that Celebrex

did not have the same GI side effects, and was therefore safer; but this safety advantage had not

been proven, so the FDA required Celebrex to carry a warning label. (Id. ¶¶ 2-3.)




1
  Pfizer acquired Pharmacia on April 16, 2003. (Compl. ¶ 14.) Arch reserves its rights as to
whether Pfizer has standing to bring the instant action.
2
  The Garber Action consists of two consolidated actions, Robert L. Garber v. Pharmacia Corp.,
et al., filed on April 7, 2003, and Alaska Electrical Pension Fund, et al. v. Pharmacia Corp., et
al.
                                                 -2-
Case 2:18-cv-00510-ES-MAH Document 17-1 Filed 03/01/18 Page 3 of 5 PageID: 186



       7.      Dating back to 2001, a variety of consumer plaintiffs alleged misrepresentation

and omissions by Pharmacia, as a developer and co-marketer, in connection with the safety of

the drug Celebrex. Common to all these lawsuits was the charge that Pharmacia misled the

public about the cardiovascular and GI side effects of Celebrex in an effort to compete with

existing non-steroidal anti-inflammatory drugs (“NSAID”), and to favorably differentiate

Celebrex in the minds of consumers, healthcare providers, and the public.

       8.      Prior to the September 1, 2002 inception of the Arch Policy, three actions were

brought on behalf of consumers alleging material discrepancies between the assurances

Pharmacia was making about the absence of GI and cardiovascular side effects from Celebrex

and the actual results obtained during the Pharmacia-funded Celecoxib Long-Term Arthritis

Safety Study (the “CLASS Study”).

       9.      According to those consumer plaintiffs, Pharmacia and Pfizer made these

assurances despite the fact that they possessed information confirming the existence of such

adverse side effects by no later than 2000.

       10.     The three actions are: (a) Alex Cain, et al. v. Merck & Co., et al., 01-CV-03441

(E.D.N.Y. May 29, 2001) (the “Cain Action”)3; (b) Jay Leonard v. Pharmacia Corp., et al.,

(D.N.J. Aug. 27, 2001) (the “Leonard Action”); and (c) John Astin v. Pharmacia Corp., et al.,

(N.J. Super. Ct., Somerset County Aug. 27, 2001) (the “Astin Action”) (the Cain, Leonard and

Astin Actions are collectively referred to as the “Consumer Actions”).

       11.     A true and correct copy of the Second Amended Class Action Complaint in the

Cain Action is annexed hereto as Exhibit 2 (the “Cain Complaint”).




3
 The initial complaint in the Cain Action was filed on May 29, 2001. The Second Amended
Class Action Complaint was filed on September 18, 2002.
                                               -3-
Case 2:18-cv-00510-ES-MAH Document 17-1 Filed 03/01/18 Page 4 of 5 PageID: 187



        12.       A true and correct copy of the Class Action Complaint in the Leonard Action is

annexed hereto as Exhibit 3 (the “Leonard Complaint”).

        13.       A true and correct copy of the Class Action Complaint in the Astin Action is

annexed hereto as Exhibit 4 (the “Astin Complaint”) (the Cain, Leonard and Astin Actions are

collectively referred to as the “Consumer Actions”).

        14.       A true and correct copy of the Warranty Statement, dated August 29, 2002, and

signed by Pharmacia’s Chief Executive Officer and Chief Financial Officer, is annexed hereto as

Exhibit 5.

        15.       A true and correct copy of the excess insurance policy No. C000875, issued by

Allied World Assurance Company Ltd. to Pharmacia for the Policy Period of September 1, 2002

to September 1, 2003, is annexed hereto as Exhibit 6.

        16.       A true and correct copy of the British Medical Journal published in June 2002 is

annexed hereto as Exhibit 7. (Peter Juni et al., Are selective COX2 inhibitors superior to

traditional non steroidal anti-inflammatory drugs?, 324 BMJ 1287, 1287-88 (2002), available at

https://www.researchgate.net/publication/11332923_Are_selective_COX_2_inhibitors_superior_

to_traditional_non_steroidal_anti-inflammatory_drugs).

        17.       A true and correct copy of The Wall Street Journal article, published on August

22, 2001, is annexed hereto as Exhibit 8. (Thomas M. Burton et al., Study Raises Specter of

Cardiac Risk for Users of Popular Arthritis Drugs, Wall St. J., Aug. 22, 2001,

https://www.wsj.com/articles/SB99842672681764284).

        18.       A true and correct copy of the February 1, 2001 FDA Warning Letter to

Pharmacia is annexed hereto as Exhibit 9. (Pharmacia Corp., FDA Warning Letter, (NDA 20-

998),        at     1     (Feb.     1,     2001),      available    at     http://wayback.archive-



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Case 2:18-cv-00510-ES-MAH Document 17-1 Filed 03/01/18 Page 5 of 5 PageID: 188



it.org/7993/20170112070214/http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegula

toryInformation/EnforcementActivitiesbyFDA/WarningLettersandNoticeofViolationLetterstoPh

armaceuticalCompanies/UCM166486.pdf).

         19.   A true and correct copy of Pharmacia’s year 2000 Annual Report to Shareholders

is annexed hereto as Exhibit 10.     (Pharmacia Annual Report 2000, at 14, available at

http://media.corporate-ir.net/media_files/NYS/PHA/reports/ar2000.pdf).

Dated:         March 1, 2018




                                           WHITE AND WILLIAMS LLP




                                    By:    _____________________________
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